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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
  MHANY MANAGEMENT INC.,                                                         :
                                                                                 :
                                           Plaintiff,                            :
                                                                                 :
            -and-                                                                :
                                                                                 :
  NEW YORK COMMUNITIES FOR CHANGE, INC., : Case No. 05-cv-2301 (ADS) (ARL)
                                                                                 :
                                           Intervenor-Plaintiff,                 :
                                                                                 :
            -against-                                                            :
                                                                                 :
  INCORPORATED VILLAGE OF GARDEN CITY,                                           :
  GARDEN CITY BOARD OF TRUSTEES, and                                             :
  COUNTY OF NASSAU,                                                              :
                                                                                 :
                                           Defendants.                           :
                                                                                 :
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       [PROPOSED] PARTIAL FINAL JUDGMENT AS AGAINST DEFENDANTS
    INCORPORATED VILLAGE OF GARDEN CITY AND GARDEN CITY BOARD OF
                               TRUSTEES

  Spatt, District Judge.

         WHEREAS, Plaintiff MHANY Management, Inc. and Intervenor-Plaintiff New York

  Communities for Change, Inc. (collectively, “Plaintiffs”) brought this lawsuit against Defendants

  Incorporated Village of Garden City and the Garden City Board of Trustees (collectively, “Garden

  City”), and Defendant County of Nassau (the “County”) asserting claims pursuant to the Fair

  Housing Act, 42 U.S.C. § 3601 et seq. (the “FHA”); 42 U.S.C. §§ 1981-83; 42 U.S.C. § 2000d et

  seq.; and the Equal Protection Clause of the Fourteenth Amendment to the United States

  Constitution;

         WHEREAS, on February 12, 2012, the Court granted the County’s motion for summary

  judgment and dismissed the County from the case;



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         WHEREAS, after an eleven-day bench trial held in June and July of 2013, this Court found

  Garden City liable under the FHA based on theories of disparate treatment and disparate impact, and

  liable under 42 U.S.C. § 1981, 42 U.S.C. §1983, and the Equal Protection Clause on a theory of

  disparate treatment, as set forth in the Court’s December 6, 2013 Memorandum and Order (the

  “December 2013 Order”);

         WHEREAS, on April 22, 2014, this Court entered a final judgment that, inter alia,

  granted Plaintiffs certain relief against the Village and served as a final judgment dismissing the

  County from the case (the “2014 Judgment”);

         WHEREAS, Plaintiffs appealed this Court’s grant of summary judgment to the County,

  and Garden City appealed from the Court’s 2014 Judgment and the Court’s post-trial rulings,

  embodied in the December 2013 Order, holding Garden City liable;

         WHEREAS, on March 23, 2016, the United States Court of Appeals for the Second

  Circuit issued a decision: (1) affirming the 2014 Judgment and the Court’s holding that Garden

  City was liable on a theory of disparate treatment; (2) vacating the 2014 Judgment insofar as it

  found Garden City liable on a disparate impact theory, and remanding for further consideration

  of whether, under 24 C.F.R. § 100.500(c), Plaintiffs had met their burden of proving that the

  “substantial legitimate, nondiscriminatory interests supporting the challenged practice could be

  served by another practice that has a less discriminatory effect”; and (3) vacating this Court’s

  grant of summary judgment to the County on the Plaintiffs’ claims under Section 804(a) of the

  FHA and 42 U.S.C. § 2000d, which alleged that the County impermissibly and intentionally

  steers affordable housing to areas of the County primarily occupied by minorities, thus

  perpetuating segregation (the “Steering Claims”), and remanding for further consideration of

  those claims;




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         WHEREAS, on June 17, 2016, the Court extended the time periods during which certain

  of Garden City’s remedial obligations under the 2014 Judgment would run (the “Judgment

  Extension Order”);

         WHEREAS, on September 20, 2017, pursuant to the Second Circuit’s order on remand,

  this Court issued a Memorandum of Decision and Order finding that Plaintiffs at trial had met

  their burden under 24 C.F.R. § 100.500(c), and reaffirming its holding that Garden City is liable

  under a theory of disparate impact.

         WHEREAS, discovery on Plaintiffs’ Steering Claims against the County remains in

  progress, and it will be some time before those claims are finally resolved;

         WHEREAS, Garden City is not a party to the Steering Claims;

         WHEREAS, all issues regarding Plaintiffs’ claims against Garden City have now been

  fully and finally resolved,

         NOW, THEREFORE, THE COURT finds that, under these circumstances, there is no

  just reason for delay in entering a partial final judgment in this case against Garden City;

         NOW, THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED, pursuant to

  Federal Rule of Civil Procedure 54(b), that final judgment is entered against Garden City on the

  terms set forth in the 2014 Judgment, as modified by the Court in the Judgment Extension Order.

  SO ORDERED.

  Dated: Central Islip, New York
         _______________________,
       November      30, 2017     2017



                                                /s/ Arthur D. Spatt
                                                ________________________________________
                                                ARTHUR D. SPATT
                                                United States District Judge




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